       Case 4:13-cr-00172-WTM-GRS Document 1 Filed 10/08/13 Page 1 of 3

                                                                                         FILED
                                                                                 U.S. DISTRICT COURT
                            UNITED STATES DISTRICT COURT                            SAV.
                           SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION                               20I3OCT-8 Ni 5:22

UNITED STATES OF AMERICA                             INDICTMENT NO:

       V   .                                         VIO: 42 U.S.C. § 3631(a)
                                                          Interfering with Housing Rights
GENE HOYT VANDIVER
                                                            18 U.S.C. § 844(h)(1)
                                                            Arson
                                                                          CR41 - 172
THE GRAND JURY CHARGES:

                                         COUNT ONE
                                Interfering with Housing Rights
                                      42 U.S.C. § 363 1(a)

       Beginning on or about July 14, 2013, and continuing through on or about July 15, 2013,

in Bryan County, within the Southern District of Georgia, the defendant,           GENE HOYT

VANDIVER, by burning a cross in the yard of G.M.R., did by force and threat of force,

willfully intimidate and interfere with, and attempt to intimidate and interfere with G.M.R and

others, who the defendant GENE HOYT VANDIVER believed to be African-Americans,

because of their race, and because they were occupying a dwelling.

       All done in violation of Title 42, United States Code, Section 3631(a).




                                            Page 1 o13
        Case 4:13-cr-00172-WTM-GRS Document 1 Filed 10/08/13 Page 2 of 3




                                         COUNT TWO
                                             Arson
                                        18 U.S.C. § 844(h)(1)

       Beginning on or about July 14, 2013, and continuing through on or about July 15, 2013,

in Bryan County, within the Southern District of Georgia, the defendant,            GENE HOYT

VANDIVER, did willfully use fire to commit a felony offense prosecutable in a court of the

United States, namely, the felony offense of interfering with the right to fair housing, as charged

in Count One of this Indictment and incorporated herein.

       All done in violation of Title 18, United States Code, Section 844(h)( 1).




                                             Page 2 of 3
       Case 4:13-cr-00172-WTM-GRS Document 1 Filed 10/08/13 Page 3 of 3




                                                             A True Bi,1i.   4   ,




                                                             Foreperson

 qf-,k~       fR
Edward J. Tarver
                      ~   -
                          )<-~~
                                          -'   ~
United States Attomsy



Jap1D. Durham
First  1 t    t         t   es Attorney



Bri      Ra ferty
Assistant United States Attorney
Criminal Division Chief



Tania D. G roover *
Assistant United tates Attorney
* Den otes Lead


E. Greg Gi1L 11y*
Assistant United States A
*Denotes Lead Counsel




                                                   Page 3 of 3
